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VANDERSLICE DECL.
   EXHIBIT A13
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                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


              MAXIMILIAN KLEIN, et al., on behalf of
              themselves and all others similarly situated,

                                   Plaintiffs,

              v.                                                        Case No. 3:20-cv-08570-JD
              META PLATFORMS, INC., a Delaware
              Corporation,

                                   Defendant.



                                             DECLARATION OF ADAM MEHES

             Adam Mehes declares and states as follows:

                     1.       I am an employee of non-party X Corp. I have personal knowledge of the facts set

             forth in this declaration and could testify competently as to the matters set forth in this

             declaration.

                     2.       Based on my personal knowledge and on information provided to me by others at

             X Corp., I understand that the parties to the above-captioned litigation have submitted to the

             Court certain information that X Corp. has designated as Confidential or Highly Confidential

             under the Stipulated Protective Order dated July 11, 2022. Specifically, portions of the July 7,

             2023 Expert Report of Michael A. Williams, Ph.D., and the September 15, 2023 Expert Reply

             Report of Michael A. Williams, Ph.D., refer to these materials.

                     3.       X Corp. believes that good cause and compelling reasons exist to keep the

             following X Corp.-related portions of the Expert and Reply Report under seal:


                                   Document                              Portion to Remain Under Seal

              Expert Report of Michael A. Williams Ph.D. p. From "A Twitter document" to the end of the
              21, portion of footnote 55.                   sentence.
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              Expert Report of Michael A. Williams Ph.D. p. From "In a 2019 presentation" to the end of
              28, ¶ 57                                      page including the entirety of footnote 82.


              Expert Report of Michael A. Williams Ph.D. p. From start of the page "Facebook,
              29, ¶ ¶ 57-59                                 Instagram" to the end of the paragraph 59
                                                            and including footnotes 83-87.
              Expert Report of Michael A. Williams Ph.D. p. From "Twitter also" to end of the sentence and
              30, ¶ 63.                                     including footnote 92.

              Expert Report of Michael A. Williams Ph.D. p. From "Other industry" to the end of the
              41, ¶ ¶ 89-90.                                sentence ending in "directly with consumers" and
                                                            including entirety of footnotes 131 and 132.
              Expert Report of Michael A. Williams Ph.D. p. From "That social" to the end of the sentence
              43, ¶ 95.                                     and including the portion of footnote 139
                                                            starting with "DX 0812."
              Expert Report of Michael A. Williams Ph.D. p. From "Both Twitter" to the end of the
              65, ¶ 155.                                    paragraph and including footnotes 219 and
                                                            220.
              Expert Report of Michael A. Williams Ph.D. p. From "According to a July 2014 Twitter
              107, ¶ 239.                                   spreadsheet" to the end of the paragraph and
                                                            including footnote 364.
              Expert Report of Michael A. Williams Ph.D. p. From " A Twitter presentation" to the end of
              108, ¶ 242.                                   the paragraph and including footnote 371.

              Expert Report of Michael A. Williams Ph.D.    From "A 2019 Twitter document" to the end of
              pp. 110-111, ¶ 247.                           the paragraph, Figure 20, and the entirety of
                                                            footnotes 380-382.
              Expert Report of Michael A. Williams Ph.D. p. From "Discussing its" to the end of the
              155, ¶ 321.                                   paragraph and including the entirety of
                                                            footnote 545.
              Expert Reply Report of Michael A. Williams From " A July 2014" to the end of the row at
              Ph.D. p. 16, Table 1                          "00002394."

              Expert Reply Report of Michael A. Williams      From "In a 2017 internal" to the end of the row
              Ph.D. p. 17, Table 1                            at "00023144."

              Expert Reply Report of Michael A. Williams      From "A Twitter Core" to the end of the row at
              Ph.D. p. 18, Table 1                            "000582289."

              Expert Reply Report of Michael A. Williams      From "In a November 2019" to the end of the
              Ph.D. p. 18, Table 1                            row at "00058347."

                                                              From "An internal Twitter report" to the end of
                                                              the row "00048858-862."
              Expert Reply Report of Michael A. Williams      From " In discussing antitrust" to the end of the
              Ph.D. p. 22, ¶ iv.                              paragraph and including footnote 40.
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                     4.       The above-referenced material reflects non-public market and/or product feature

             analysis, privacy information, and other confidential information belonging to X Corp. This

             information is highly sensitive, and X Corp. takes very seriously the need to keep such

             information confidential. X Corp. believes that the disclosure of this information would be

             competitively damaging to X Corp. because, among other reasons, it would give confidential

             information about X Corp. and its market and product feature analysis to X Corp.'s competitors.

             This information is also potentially damaging to X Corp. employees.



                     I declare, under penalty of perjury, that the foregoing is true and correct.
           Executed on:
               16 November 2023

                                                                     Adam Mehes
                                                                     Senior Director, Legal, X Corp.
